        Case 2:18-cv-02319-CM-GLR Document 1 Filed 06/14/18 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

BOILERMAKER-BLACKSMITH NATIONAL           )
PENSION FUND; BOILERMAKERS NATIONAL )
HEALTH AND WELFARE FUND;                  )
BOILERMAKERS NATIONAL ANNUITY             )
TRUST; JOHN FULTZ as a fiduciary of the   )
BOILERMAKER-BLACKSMITH NATIONAL           )
PENSION FUND, BOILERMAKERS NATIONAL )
HEALTH AND WELFARE FUND, and              )
BOILERMAKERS NATIONAL ANNUITY             )
TRUST,                                    )
                        Plaintiffs,       )
vs.                                       )                   Case No. 2:18-cv-2319
                                          )
BOILER TECH, INC.,                        )
                        Defendant.        )
__________________________________________)

                                          COMPLAINT

       Plaintiffs, for their cause of action against Defendant, Boiler Tech, Inc., state as follows:

                     PLAINTIFFS’ REQUEST FOR PLACE OF TRIAL

       1.      Pursuant to District of Kansas Rule 40.2, Plaintiffs hereby request that trial in this

matter be held in Kansas City, Kansas.

                                   NATURE OF THE CASE

       2.      This is an action brought pursuant to §§ 502 and 515 of the Employee Retirement

Income Security Act of 1974 (ERISA), 29 U.S.C. §§ 1132 and 1145 to compel an audit and to

collect fringe benefit contributions from the Defendant as may be due and owing to the Plaintiff

Employee Benefit Plans.

                                            PARTIES

       3.      Plaintiff Boilermaker-Blacksmith National Pension Fund (hereinafter “the

Pension Fund”) is an “employee benefit plan” within the meaning of 29 U.S.C. § 1002(3). The



                                                 1
        Case 2:18-cv-02319-CM-GLR Document 1 Filed 06/14/18 Page 2 of 6




Pension Fund is a legal entity that may sue or be sued, pursuant to 29 U.S.C. § 1132(d). The

Pension Fund maintains its principal place of administration at 754 Minnesota Avenue, Kansas

City, Kansas 66101, which is located within the territorial boundaries of the District of Kansas.

The Pension Fund is a “multi-employer plan” within the meaning of 29 U.S.C. § 1002(37) and

has been established pursuant to § 302(c)(5) of the Labor Management Relations Act (LMRA),

29 U.S.C. § 186(c)(5).

       4.      Plaintiff Boilermakers National Health and Welfare Fund (hereinafter “the Health

& Welfare Fund”) is an “employee benefit plan” within the meaning of 29 U.S.C. § 1002(3).

The Health & Welfare Fund is a legal entity that may sue or be sued, pursuant to 29 U.S.C. §

1132(d). The Health & Welfare Fund maintains its principal place of administration at 754

Minnesota Avenue, Kansas City, Kansas 66101, which is located within the territorial

boundaries of the District of Kansas. The Health & Welfare Fund is a “multi-employer plan”

within the meaning of 29 U.S.C. § 1002(37) and has been established pursuant to § 302(c)(5) of

the LMRA, 29 U.S.C. § 186(c)(5).

       5.      Plaintiff Boilermakers National Annuity Trust (hereinafter “the Annuity Fund”) is

an “employee benefit plan” within the meaning of 29 U.S.C. § 1002(3). The Annuity Fund is a

legal entity that may sue or be sued, pursuant to 29 U.S.C. § 1132(d). The Annuity Fund

maintains its principal place of administration at 754 Minnesota Avenue, Kansas City, Kansas

66101, which is located within the territorial boundaries of the District of Kansas. The Annuity

Fund is a “multi-employer plan” within the meaning of 29 U.S.C. § 1002(37) and has been

established pursuant to § 302(c)(5) of the LMRA, 29 U.S.C. § 186(c)(5).




                                                 2
        Case 2:18-cv-02319-CM-GLR Document 1 Filed 06/14/18 Page 3 of 6




       6.      Plaintiff John Fultz is a fiduciary of the Plaintiffs Pension Fund, Health &

Welfare Fund, and Annuity Fund within the meaning of 29 U.S.C. § 1002(21), and as such, is a

proper party to this action.

       7.      Defendant, Boiler Tech, Inc. (hereinafter “BTI”) is a corporation organized under

and existing by virtue of the laws of the State of Michigan. BTI is an employer within the

meaning of 29 U.S.C. § 1002(5).

                                        JURISDICTION

       8.      This Court has jurisdiction of Plaintiffs’ claims pursuant to 29 U.S.C. §§ 1132

and 1145, and also pursuant to 28 U.S.C. § 1331.

       9.      Whereas the Plaintiff employee benefit plans are administered in the District of

Kansas, venue is appropriate in this district pursuant to 29 U.S.C. § 1132(e)(2).

                                      CAUSE OF ACTION

       10.     At all times relevant hereto, BTI has been a party to one or more collective

bargaining agreements with the International Brotherhood of Boilermakers, Iron Ship Builders,

Blacksmiths, Forgers and Helpers, AFL-CIO (hereinafter “Boilermakers International”) and/or

affiliate local unions of the Boilermakers International (collectively, “the Union”).

       11.     Each of the Plaintiffs Pension Fund, Health & Welfare Fund and Annuity Fund

(hereinafter collectively “the Funds) is established and operated pursuant to a written agreement

and/or declaration of trust. These agreements and/or declarations of trust are incorporated by

reference into and are a material part of the collective bargaining agreement(s) between BTI and

the Boilermakers International and/or affiliate local unions.

       12.     At all times material and relevant to this action, BTI has employed employees

who have performed covered work under the collective bargaining agreement(s).



                                                 3
        Case 2:18-cv-02319-CM-GLR Document 1 Filed 06/14/18 Page 4 of 6




       13.     BTI is obligated under the collective bargaining agreement(s) to timely submit

reports and fringe benefit contributions to the Plaintiff Funds. BTI is required to submit

contributions to the Funds each month in such amounts as determined by the number of hours of

covered work performed by BTI’s employees at the rates established for each of the Funds in the

collective bargaining agreement(s).

       14.     The collective bargaining agreement(s) require that contributions due to the Funds

are to be paid by the fifteenth (15th) day of the month following the month in which the work was

performed, and payments are delinquent if not received by that date.

       15.     Under the Funds’ written agreements and/or declarations of trust and by law, the

Funds have the right to audit any of the books and records of employers obligated to remit

reports and contributions to the Funds, in order to ensure that such employers are in compliance

with their reporting and contribution obligations. Moreover, under the trust agreements and by

law, the Funds are entitled to seek judicial relief compelling an audit of any contributing

employer who fails or refuses to submit to an audit of its books and records, and further, are

entitled to recover the costs and expenses incurred by the Funds in seeking such judicial relief.

       16.     Notwithstanding repeated demands made by the Funds, BTI has failed and/or

refused to provide to the Funds all documents necessary for the Funds to conduct a full and

complete audit of BTI’s books and records in order to determine its compliance with its reporting

and contribution obligations. Accordingly, the Funds are entitled to an order compelling BTI to

submit to an audit, including an order compelling BTI to produce all documents necessary for a

full and complete audit.

       17.     The Funds have incurred costs and expenses, including attorney’s fees, in

attempting to remedy BTI’s failure and/or refusal to provide all documents necessary for a full



                                                 4
        Case 2:18-cv-02319-CM-GLR Document 1 Filed 06/14/18 Page 5 of 6




and complete audit. Under the trust agreements and by law, the Funds are entitled to recover

these costs and expenses, including attorney’s fees, from BTI.

       18.     Under the collective bargaining agreement(s) and ERISA, BTI is obligated to pay

any delinquent contributions as may be revealed by an audit of its books and records, and further,

is obligated to pay liquidated damages and interest that the Funds assess upon such delinquent

contributions. Accordingly, to the extent an audit of BTI reveals the existence of any unpaid and

delinquent contributions, BTI is liable to the Funds for such contributions, liquidated damages,

and interest. BTI is also liable to pay the Funds’ costs and reasonable attorney’s fees for the

collection of these amounts.

       WHEREFORE, Plaintiffs pray that the Court enter an Order:

       a)      Compelling Defendant BTI to submit to a full and complete audit of its books and

records in order to determine Defendant’s compliance with its contribution obligations under the

collective bargaining agreement(s);

       b)      Allowing the Plaintiffs to apply for an award against Defendant BTI for any

contributions as are determined to be due and owing as based on the audit, plus liquidated

damages and/or interest on the fringe benefit contributions;

       c)      Awarding the Plaintiffs their costs of this action, including Plaintiffs’ reasonable

attorney’s fees; and

       d)      Granting the Plaintiffs such other relief that the Court deems just and proper,

including interest that accrues during the pending of this action.

                                                      Respectfully submitted,

                                                      BLAKE & UHLIG, P.A.
                                                      753 State Avenue, Suite 475
                                                      Kansas City, Kansas 66101
                                                      Telephone: (913) 321-8884

                                                 5
Case 2:18-cv-02319-CM-GLR Document 1 Filed 06/14/18 Page 6 of 6




                                     Facsimile: (913) 321-2396

                            By       /s/ Scott L. Brown
                                     Scott L. Brown, KS Bar # 20580
                                     ATTORNEYS FOR PLAINTIFFS




                                 6
